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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


 TRUTEK CORP.,                               Case No. 2:21-cv-10312

                    Plaintiff,               Hon. Stephen J. Murphy, III

 v.

 BLUEWILLOW BIOLOGICS, INC.,

                  Defendants.


        PLAINTIFF’S MOTION FOR LEAVE TO FILE AMENDED
                         COMPLAINT




      NOW COMES Plaintiff, Trutek Corp., by and through its counsel, Law

Office of Stanley H. Kremen, Esq. and the Law Office of Keith Altman, and files

its Motion for Leave to File Amended Complaint. For the reasons stated in the

accompanying brief in support, Plaintiff respectfully requests that this Court

GRANT the Motion.




PLAINTIFF’S MOTION FOR
LEAVE TO FILE
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 Dated: May 11, 2022                 Respectfully Submitted,




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PLAINTIFF’S MOTION
TO AMEND THE
SCHEDULING ORDER             -2-                          CASE NO. 2:21-cv-10312
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                   UNITED STATES DISTRICT COURT
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                        SOUTHERN DIVISION


 TRUTEK CORP.,                           Case No. 2:21-cv-10312

                  Plaintiff,             Hon. Stephen J. Murphy, III

 v.

 BLUEWILLOW BIOLOGICS, INC.,

                Defendants.


 BRIEF IN SUPPORT OF PLAINTIFF’S MOTION FOR LEAVE TO FILE
                   AMENDED COMPLAINT




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                              PROCEDURAL HISTORY


             Plaintiff, Trutek Corp. ("TRUTEK") filed this action on February 10,

2021. Defendant, BlueWillow Biologics, Inc. ("BLUEWILLOW") filed an answer

with counterclaims on May 19, 2021. Prior to that time, the Parties engaged in

talks aimed at resolving the dispute. Those discussions were unsuccessful. On

November 3, 2021, the Court ordered a Fed. R. Civ. P. 16/26 conference. On that

same date, the Court entered a Scheduling Order (ECF No. 21). That Order

established various discovery deadlines. On March 23, 2022, the Court issued an

Amended Order (ECF No. 26), wherein the discovery deadlines were extended by

forty-five days. It was further ordered that the Parties must mediate no later than

July 22, 2022.


             The Court appointed Thomas M. Schehr, of Dykema Gossett PLLC,

as mediator of the dispute. An initial telephonic conference was held between the

mediator and counsel for both parties. Mr. Schehr was made aware of the issues as

well at the fact that discovery was ongoing. It was decided that a subsequent

mediation session will be held on June 6, 2022 via ZOOM.




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                                  LEGAL STANDARD


             Fed. R. Civ. P. 15(a)(2) provides that courts should "freely give leave"

to the moving party to amend the complaint "when justice so requires." In

deciding whether to grant such relief, courts must consider "the delay in filing, the

lack of notice to the opposing party, bad faith by the moving party, repeated failure

to cure deficiencies by previous amendments, undue prejudice to the opposing

party, and futility of amendment." Perkins v. American Elec. Power Fuel Supply,

Inc., 246 F.3d 593, 605 (6th Cir. 2001). "A proposed amendment if futile if the

amendment could not withstand a Rule 12(b)(6) motion to dismiss." Rose v.

Hartford Underwriters Ins. Co., 203 F.3d 417, 420 (6th Cir. 2000) (citing Thiokol

Corp. v. Dep't of Treasury, State of Michigan, Revenue Div., 987 F.2d 376, 382

(6th Cir. 1993)). When the moving party has delayed seeking an amendment to the

complaint, the purported reason for the delay must be balanced against any

prejudice resulting to the opposing party. Johnson v. Ventra Group, Inc., 124 F.3d

197 (6th Cir. 1997) (citing Head v. Timken Roller Bearing Co., 486 F.2d 870, 873

(6th Cir. 1973)).




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                                      ARGUMENT


    I.       Plaintiff is Entitled to Amend Its Complaint to Add and Remove

Counts of the Complaint and to Add and Remove Parties.


             Per the Perkins court, four factors are considered in determining

whether this motion should be granted: "the delay in filing, the lack of notice to the

opposing party, bad faith by the moving party, repeated failure to cure deficiencies

by previous amendments, undue prejudice to the opposing party, and futility of

amendment.”

      a. There Was No Undue Delay in Filing the Proposed Amended

Complaint.

             Discovery is ongoing, and more information is available now that

could not have been and in fact was not available to TRUTEK before the filing of

this motion. The initial complaint alleged a single count of infringement of

TRUTEK's U.S. Patent No. 8,163,802 (the '802 Patent) by BLUEWILLOW.

BLUEWILLOW manufactured and sold a product labeled Nanobio® Protect,

which TRUTEK alleges infringes claims 1, 2, 6, and 7 of the '802 Patent. This

product is no longer being sold. (See ¶7 of decl. Kremen (attached hereto as

Exhibit A).) At some time, subsequent to filing the initial complaint, TRUTEK

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discovered that BLUEWILLOW's main activities are directed to developing

nasally administered vaccines to prevent and/or treat various diseases and

conditions. (Decl. Kremen ¶18.) During numerous discussions, BLUEWILLOW

counsel asserted that the vaccines were "off-limits" because they were protected

from infringement allegations according to Hatch Waxman. (Decl. Kremen ¶19)

BLUEWILLOW counsel indicated that they would resist TRUTEK's efforts to

discover information regarding the vaccines. (Decl. Kremen ¶19.) Consequently,

TRUTEK began its own research. TRUTEK engaged experts to assist in its

research. (See decl. Lemmo – attached hereto as Exhibit B.) At the present time,

TRUTEK has a good faith belief that BLUEWILLOW's vaccine products read on

at least claims 1 and 2 of the '802 Patent, and that BLUEWILLOW's activities

infringe the '802 Patent.


             The safe harbor provided by Hatch Waxman is an affirmative defense,

and as such, BLUEWILLOW bears the burden of proof. In addition, not all

activities of a producer of pharmaceuticals prior to regulatory approval are

protected by the safe harbor. Further, TRUTEK has become aware that other

entities are likely collaborating with BLUEWILLOW in their efforts to produce its

vaccines. At least one of these entities is believed to be based outside the United

States. Activities of these entities may not be encompassed by the safe harbor.

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 Discovery is required. A subsequent amendment of the complaint may be required

 to add these entities as their activities with respect to Defendant's vaccine

 development are discovered.

              Moreover, even if some of BLUEWILLOW's activities are protected

 by the safe harbor during development, BLUEWILLOW should not be permitted

 to commercialize these products until expiration of the '802 Patent. Almost

 immediately following regulatory approval of their vaccines, BLUEWILLOW is

 expected to begin marketing them. At that time, not only will their activities

 constitute patent infringement, but they will further constitute willful infringement

 necessitating additional penalties.

              Trying this case without citing infringement by BLUEWILLOW with

 respect to its vaccine development would make little sense. These activities are

 performed by the same defendant, and they infringe the same claims of the '802

 Patent. Considering BLUEWILLOW's stated intent to resist discovery regarding

 its vaccine development, the additional count of infringement provides a rational

 basis for this avenue of discovery.


              From the viewpoint of judicial economy, it makes sense to grant this

 motion to file an amended complaint because a separate action filed against the


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 same defendant for infringement of the same patent due to different activities

 would be redundant in terms of witness testimony. Allowing TRUTEK to file its

 amended complaint would allow this action to encompass the entire controversy

 between the parties.


       b.     The Lack of Notice to the Opposing Party.

              Since before the Rule 16/26 scheduling conference, Defendants have

 been on notice that TRUTEK intends to pursue discovery into BLUEWILLOW's

 activities regarding its vaccine development. At the initial teleconference with the

 court appointed mediator, counsel for both parties voiced disagreement regarding

 the scope of the lawsuit. In a telephonic meet-and-confer session between counsel,

 BLUEWILLOW was placed on notice that TRUTEK intends to file this amended

 complaint. Counsel for BLUEWILLOW stated that Defendant would oppose

 Plaintiff's motion to amend.




       c.     Bad Faith by the Moving Party.

              A simple review of the filings and the discovery that has taken place

 thus far demonstrates that there is no bad faith here by the Plaintiff. TRUTEK

 could not allege its new count of infringement until it had a good faith belief that it
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 was true. TRUTEK expended significant expense and labor to arrive at this belief.

 Plaintiff believes that it is unlikely for there to be any alleged bad faith in response.

 Should bad faith be raised in Response to this Motion, Plaintiff will reply

 accordingly.


       d.       Repeated Failure to Cure Deficiencies by Previous Amendments.

                The proposed amended complaint represents Plaintiff's first

 amendment. There are no previous amendments. However, despite repeated

 opposition by Plaintiff, Defendant's counsel stated repeatedly that it intended to

 limit the scope of the present lawsuit to BLUEWILLOW's activities with respect to

 the Nanobio® Protect product. The proposed amended complaint simply explains

 and clarifies what exactly at the heart of this litigation. TRUTEK simply desires to

 protect its '802 Patent. The causes of action are clear as how BLUEWILLOW is

 alleged to have committed each violation.




       e.       Undue Prejudice to the Opposing Party.

                As explained herein, Plaintiff believes it is unlikely that Defendant

 will even claim prejudice. Discovery has commenced recently. Interrogatories

 were served by both parties, requests for admission were served by Plaintiff, and
 BRIEF IN SUPPORT OF
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 requests for production were served by Defendant. No depositions have been

 taken to-date. Defendant was aware that for several months, Plaintiff sought to

 serve discovery regarding Defendant's vaccine development activities. The

 proposed amended complaint formalizes the reasons for this discovery.


       f.     Futility of Amendment.

              A mere cursory review of the proposed amended complaint reveals

 that it would survive a 12(b)(6) motion. The facts are pleaded with sufficient

 particularity that Plaintiff has stated a claim for each count. The proposed

 amended complaint stands on its own despite the affirmative defense of non-

 infringement, the Hatch Waxman safe harbor defense, and the counterclaim of

 patent invalidity. For these, the burden of proof rests with Defendant.

                                      CONCLUSION


              In view of the foregoing, Plaintiff respectfully requests that the Court

 grant its motion to amend the complaint.




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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


  TRUTEK CORP.,                               Case No. 2:21-cv-10312

                    Plaintiff,                Hon. Stephen J. Murphy, III

  v.

 BLUEWILLOW BIOLOGICS, INC.,

                  Defendants.



                          CERTIFICATE OF SERVICE


       I certify that on May 11, 2022, I served the foregoing Plaintiff’s Motion for

 Leave to File Amended Complaint and Plaintiff’s Brief in Support of Plaintiff’s

 Motion for Leave to File Amended Complaint upon all parties herein by filing

 copies of same using the ECF System.




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 BRIEF IN SUPPORT OF
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